Joseph Cilione, et al.

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Victoria’s Crab House, Inc., et al.

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IN THE U.S. DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

Plaintiffs *

* Case No. RDB 19-ey-00627

Defendants *
f

DECLARATION OF JORDAN 8S. LIEW

I, Jordan S. Liew, Esq., am at least 18 years of age and competent to testify, and I am not
a party to, or related to a party, in this action. I am employed by Hoffman Employment
Law, LLC, and serve as an associate to Howard B. Hoffman, counsel to the Plaintiffs in
the above-referenced matter.

By way of brief background, I am an attorney in private practice, and | concentrate on
employment law. I have been practicing law since 2016, after graduating from the
Georgetown University Law Center. I am admitted to the Maryland bar (since 2016), the
District of Columbia bar (since 2017), and was sworn into the bar of the U.S. District Court
for the District of Maryland on June 22, 2018.

Prior to my employment with Hoffman Employment Law, LLC, I gained experience in
employment law during my one-year tenure with the District of Columbia Office of
Attorney General as a Charles F.C. Ruff Fellow. As an attorney with the Civil Litigation
Division, | defended the District from claims of race, sex, and disability discrimination,
hostile work environment, and retaliation. As an associate with Hoffman Employment

Law, [now focus almost exclusively on employment law cases, primarily those concerning

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unpaid wage violations involving the FLSA and related state statutes.

4. My total time in this case, through October 21, 2019 was 12.9 hours. The total value of
this time is $2,762.50. Aside from the review of documents and communications, and the
requisite conferences with Howard B. Hoffman, opposing counsel, and the Court, I
conducted legal research on issues surrounding the language of the consent judgment,
revised the Joint Motion for Entry of Consent Judgment, and drafted the Settlement
Agreement for Attorneys’ Fees and Costs,

5. I have maintained time and costs records in this case, which I have placed into
“RocketMatter”© software. The time records reflect actual time that I have expended in
the prosecution of this litigation (the “RocketMaitter” entries have not been placed into the
Court’s required lodestar billing format). I inputted my time promptly following work
performed. To the fullest extent practical, | have specified the time spent per task, and I
have avoided the practice of block billing.

6. The hourly rate claimed in this case, i.c., $215/hour, is well within the range permitted by
the U.S. District Court for the District of Maryland (Lodestar Guidelines). It is also
supported by primary counsel on this matter, Howard B. Hoffman, Esq., whose Declaration
is marked as Exhibit 2.

DECLARANT FURTHER SAYETH NAUGHT
T solemnly affirm under the penalties of perjury that the contents of the foregoing
declaration are true and correct.

Jofdan S. Liew, Esq.
October 23, 2019

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